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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                          )
                                                    ) C.A. No. 1: 19-cv-02262-RGA
               Plaintiff,                           )
                                                    )
       V.                                           )   TRIAL BY JURY DEMANDED
                                                    )
DENON ELECTRONICS (USA), LLC,                       )
                                                    )
               Defendant.                           )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rules of Civil Procedure 41(a), Plaintiff Symbology Innovations,

LLC and Defendant Denon Electronics (USA), LLC, by and through their undersigned counsel,

and subject to the approval of this Court, hereby file this Joint Stipulation of Plaintiffs Dismissal

of all its claims against Defendant WITH PREJUDICE, and Defendant's dismissal of all its

counterclaims against Plaintiff WITHOUT PREJUDICE, with each party to bear its own costs,

expenses and attorneys' fees. In support thereof, the parties respectfully inform this Court that all

matters in controversy between them have been settled.

Dated: February 18, 2020                        STAMOULIS & WEINBLATT LLC

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                                         ATTORNEYS FOR DEFENDANT




     SO ORDERED this _   lq_.____ day of (:'lb~ )
                         _._                                 , 2019

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